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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMER?

Vv.

DONOVAN CROWL,
(Counts 1, 2, 3, 4, 5, 7)

SANDRA PARKER,
(Counts 1, 2, 3, 4, 5, 7)

BENNIE PARKER,
(Counts 1, 2, 3, 5)

LAURA STEELE,
(Counts 1, 2, 3, 4, 5, 7, 8)

CONNIE MEGGS,
(Counts 1, 2, 3, 4, 5)

WILLIAM ISAACS, and
(Counts 1, 2, 3, 4, 5, 6, 7)

JAMES BEEKS,
(Counts 1, 2, 3, 4, 5, 7)

Defendants.

CRIMINAL NO, 21-cr-28-APM

VIOLATIONS:

COUNT 1:

18 U.S.C. § 1512(k)

(Conspiracy to Obstruct an Official
Proceeding)

COUNT 2:

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding and
Aiding and Abetting)

COUNT 3:

18 U.S.C. § 372

(Conspiracy to Prevent an Officer from
Discharging Any Duties)

COUNT 4:

18 U.S.C. §§ 1361, 2

(Destruction of Government Property and
Aiding and Abetting)

COUNT 5:

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

COUNTS 6-7:
18 U.S.C. §§ 231(a)(3), 2
(Civil Disorder and Aiding and Abetting)

COUNT 8:

18 U.S.C. §§ 1512(c)(2), 2

(Tampering with Documents or
Proceedings and Aiding and Abetting)
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SEVENTH SUPERSEDING INDICTMENT

The Grand Jury charges that, at all times material to this Indictment, on or about the dates
and times stated below:

Introduction

The Transfer of Presidential Power in the United States

1. The United States Constitution and federal statutes codify the procedures and dates
governing the transfer of presidential power in the United States. The Twelfth Amendment
requires presidential electors to meet in their respective states and certify “distinct lists of all
persons voted for as President, and of all persons voted for as Vice-President, and of the number
of votes for each.” It further requires that the Vice President “shall, in the presence of the Senate
and House of Representatives, open all the certificates and the votes shall then be counted.” Title
3, Section 15 of the United States Code provides that the United States Congress must convene
during a joint session proceeding (“the Joint Session”) at 1:00 p.m. “on the sixth day of January
succeeding every meeting of the electors,” with the Vice President presiding, to count the electoral
votes, resolve any objections, certify their validity, and announce the result (“Certification of the
Electoral College vote”). The Twentieth Amendment provides that the terms of the President and
Vice President shall accordingly end at noon on the 20th day of January, “and the terms of their
successors shall then begin.”

Plot to Oppose by Force the 2020 Lawful Transfer of Presidential Power

2. The 2020 United States Presidential Election (“Presidential Election”) occurred on
November 3, 2020. As of November 7, 2020, the incumbent President Donald J. Trump was
projected to have lost the Presidential Election.

3. After the Presidential Election, Elmer Stewart Rhodes III, the founder and leader

of the Oath Keepers, began encouraging members and affiliates of his organization to oppose by
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force the lawful transfer of presidential power. The Oath Keepers is a large but loosely organized
collection of individuals, some of whom are associated with militias. Some members of the Oath
Keepers believe that the federal government has been coopted by a cabal of elites actively trying
to strip American citizens of their rights. Though the Oath Keepers will accept anyone as
members, they explicitly focus on recruiting current and former military, law enforcement, and
first-responder personnel. The organization’s name alludes to the oath sworn by members of the
military and police to defend the Constitution “from all enemies, foreign and domestic.” On their
website, the “Oath Keepers declare they will not obey unconstitutional orders.”

4. Rhodes and certain regional leaders of the Oath Keepers began recruiting others to
travel to Washington, D.C., to participate in operations aimed at stopping the transfer of
presidential power. They coordinated travel across the country to enter Washington, D.C.,
equipped themselves with a variety of weapons, donned combat and tactical gear, and were
prepared to answer Rhodes’s call to take up arms at Rhodes’s direction. Some also amassed
firearms on the outskirts of Washington, D.C., distributed them among “quick reaction force”
(“QRF”) teams, and planned to use the firearms in support of their plot to stop the lawful transfer
of presidential power.

Oath Keepers Attack the United States Capitol on January 6, 2021

5. Beginning in late December 2020, via encrypted and private communications
applications, Rhodes and the co-conspirators introduced below coordinated and planned to travel
to Washington, D.C., on or around January 6, 2021, the date of the Certification of the Electoral
College vote. Rhodes and others made plans to bring weapons to the area to support the operation.
They then traveled across the country to the Washington, D.C., metropolitan area in early January

2021.
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6. On January 6, 2021, the Joint Session convened at the Capitol building for the
Certification of the Electoral College vote.

7. A large crowd began to gather outside the Capitol perimeter as the Joint Session
got underway at 1:00 p.m. Crowd members eventually forced their way through, up, and over
United States Capitol Police barricades and advanced to the building’s exterior fagade. Shortly
after 2:00 p.m., crowd members forced entry into the Capitol by breaking windows, ramming open
doors, and assaulting Capitol Police and other law enforcement officers.

8. Around that time, Rhodes entered the restricted area of the Capitol grounds and
directed his followers to meet him at the Capitol.

9. Around 2:30 p.m., DONOVAN CROWL, SANDRA PARKER, LAURA STEELE,
CONNIE MEGGS, WILLIAM ISAACS, JAMES BEEKS, and other Oath Keepers members and
affiliates, including Kelly Meggs, Kenneth Harrelson, Jessica Watkins, Joseph Hackett, David
Moerschel, Graydon Young, Caleb Berry, and Jason Dolan—many of whom were wearing
paramilitary clothing and patches with the Oath Keepers name, logo, and insignia—marched in a
“stack” formation up the east steps of the Capitol to the area outside of the Capitol Rotunda Doors.
At the time, the doors were closed and guarded by Capitol Police officers. The group of co-
conspirators joined a mob of people, some of whom attacked officers and tried to enter the Capitol
while yelling, among other things, “Take their shields” and “Our house!” Attackers assaulted
officers using pepper spray, flagpoles, and numerous improvised weapons and projectiles. They
also disarmed the officers by stealing their shields and pushing them away from the Rotunda
Doors. At 2:38 p.m., the doors were breached, and the group of co-conspirators stormed into the
Capitol alongside the mob. During the attack on the Capitol, the Rotunda Doors and surrounding

facade suffered damage worth thousands of dollars.
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10. | Once inside the Capitol, the group of co-conspirators entered the Rotunda and then
split up. Half of the group tried to push their way through a line of law enforcement officers
guarding a hallway that led to the Senate Chamber. Law enforcement officers forcibly repelled
their advance. The participants in this half of the group then regrouped in the Rotunda and left the
building. The other half of the group headed toward the House of Representatives, in search of
Speaker of the House Nancy Pelosi. They did not find Speaker Pelosi and ultimately left the
building.

11. While certain Oath Keepers members and affiliates inside of Washington, D.C.,
breached the Capitol grounds and building, others remained stationed just outside of the city in
QRF teams. The QRF teams were prepared to rapidly transport firearms and other weapons into
Washington, D.C., in support of operations aimed at using force to stop the lawful transfer of
presidential power.

The Co-Conspirators

12. The Oath Keepers members and affiliates who conspired with one another and
others included the defendants listed below and others:

a. DONOVAN CROWL was a resident of Woodstock, Ohio, who used the moniker
“Trapper”;

b. SANDRA PARKER was a resident of Morrow, Ohio;

c. BENNIE PARKER, the husband of SANDRA PARKER, was resident of Morrow,
Ohio;

d. LAURA STEELE was a resident of Thomasville, North Carolina;

e. CONNIE MEGGS, was a resident of Dunnellon, Florida;

f. WILLIAM ISAACS, was a resident of Kissimmee, Florida;
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g. JAMES BEEKS, was a resident of Orlando, Florida;

h. Kelly Meggs, the husband of CONNIE MEGGS, was a resident of Dunnellon,
Florida, and the head of the Florida chapter of the Oath Keepers, who used the
monikers “Gator 1” and “OK Gator 1”;

i. Kenneth Harrelson was a resident of Titusville, Florida, who assisted Kelly Meggs
in leading the Florida Oath Keepers, and who used the moniker “Gator 6”;

j. Jessica Watkins was a resident of Woodstock, Ohio, who led the Ohio team of Oath
Keepers at the Capitol on January 6, 2021, and who used the monikers “Captain”
and “Cap”;

k. Joseph Hackett was a resident of Sarasota, Florida, who used the moniker “Ahab”
and “Faith”;

l. David Moerschel was a resident of Punta Gorda, Florida, who used the moniker
“Hatsy”;

m. Graydon Young, the brother of STEELE, was a resident of Englewood, Florida,
who used the moniker “GenXPatriot”;

n. Caleb Berry, was a resident of Tampa, Florida, who used the moniker “Breacher”;

o. Jason Dolan, was a resident of Wellington, Florida, who used the moniker
“Turmoil”; and

p. Thomas Caldwell was a resident of Berryville, Virginia, who used the monikers

“CAG,” “Spy,” and “CAG Spy,” and who was one of the QRF leaders.
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13.

Background: November 2020

Beginning in November 2020, Rhodes began disseminating messages on encrypted

applications that encouraged Oath Keepers members and affiliates to oppose by force the lawful

transfer of presidential power. For example:

a.

On November 5, 2020—two days after the Presidential Election— Rhodes sent a
message to an invitation-only, end-to-end encrypted group chat on the application
Signal, titled, “Leadership intel sharing secured” (“Leadership Intel Chat’’), which,
at that point, included Kelly Meggs and others. In his message, Rhodes urged his
followers to refuse to accept the election result and stated: “We aren’t getting
through this without a civil war. Too late for that. Prepare your mind, body, spirit.”
On November 7, 2020—the date that President Trump was projected to have lost
the Presidential Election-— Rhodes wrote to the Leadership Intel Chat: “[W]e must
now do what the people of Serbia did when Milosevic stole their election. - Refuse
to accept it and march en-mass on the nation’s Capitol.” He then sent a link to a
Bitchute.com video titled “STEP BY STEP PROCEDURE, HOW WE WON
WHEN MILOSEVIC STOLE OUR ELECTIONS.” Rhodes continued:

YT am in direct context with the Serbian author of that video. His
videos are excellent. Here is his written advice to us:

“- Peaceful protests, good, well played round 1

- A complete civil disobedience, they are not your representatives.
They are FOREIGN puppet government.

- Connect with the local police and start organize by neighborhoods
to stay safe (we didn’t need this step)

- We swarmed the streets and started confronting the opponents. |
know, not nice, but it must be done if the institutions stop to exist
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- Millions gathered in our capital. There were no barricades strong
enough to stop them, nor the police determined enough to stop them

- Police and Military aligned with the people after few hours of fist-
fight

- We stormed the Parliament

- And burned down fake state Television!

WE WON!”
Later, on November 10, 2020, Rhodes publicly published this plan of action under
the headline “WHAT WE THE PEOPLE MUST DO” on the Oath Keepers website
in a “Call to Action!”

14. On November 9, 2020, Rhodes held a private GoToMeeting—an online meeting
site that allows users to host conference calls and video conferences via the Internet—limited to
Oath Keepers members, titled, “Oath Keepers National Call — Members Only,” which was
attended by Kelly Meggs, Harrelson, Watkins, Hackett, and others, including a person whom
Rhodes appointed as the operation leader for January 6, 2021. During the meeting, Rhodes
outlined a plan to stop the lawful transfer of presidential power, including preparations for the use
of force, and urged those listening to participate.

15. Immediately after that meeting, Kelly Meggs sent a message to an invitation-only
Signal group chat titled, “OKFL Hangout” (““OKFL Hangout Chat”)—including Harrelson,
Hackett, Moerschel, and others—stating, “Anybody not on the call tonight. We have been issued
a call to action for DC. This is the moment we signed up for... .”).

16. Also immediately after that meeting, Watkins sent messages to several people
whom she referred to in her phone as “recruits,” including BENNIE PARKER, informing them

about a “military style basic” training class her militia was organizing for the beginning of January
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2021 to get these recruits “fighting fit by innaugeration.” BENNIE PARKER responded by telling
Watkins that he had mentioned meeting Watkins to the leader of his own militia and asked to get
together with Watkins, noting, “My wife [SANDRA PARKER] wants to get her ham license and
also make a database connecting other Militias for a more unified connection.”

17. From November 13-15, 2020, CROWL, Watkins, and others came to the
Washington, D.C., metropolitan area in response to a call to action from Rhodes and stayed at
Caldwell’s residence. CROWL, Watkins, and others brought weapons with them, including
firearms and ammunition.

18. On November 22, 2020, the Florida chapter of the Oath Keepers—including Kelly
Meggs, Harrelson, Hackett, and others—held a training on “unconventional warfare.”

19, On November 26, 2020, Watkins sent a message to BENNIE PARKER inviting

him to a training session, and BENNIE PARKER responded by asking about access to a gun range.
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COUNT ONE
(18 U.S.C. § 1512(k))
(Conspiracy to Obstruct an Official Proceeding)
20. From in and around December 2020, through in and around January 2021, in the
District of Columbia and elsewhere, the defendants,
DONOVAN CROWL,
SANDRA PARKER,
BENNIE PARKER,
LAURA STEELE,
CONNIE MEGGS,
WILLIAM ISAACS, and
JAMES BEEKS,
did knowingly combine, conspire, confederate, and agree with each other and other persons known
and unknown to the Grand Jury, to corruptly obstruct, influence, and impede an official
proceeding, that is, the Certification of the Electoral College vote, in violation of Title 18, United
States Code, Section 1512(c)(2).
Purpose of the Conspiracy
21. The purpose of the conspiracy was to stop, delay, and hinder the Certification of
the Electoral College vote.
Manner and Means
22. CROWL, SANDRA PARKER, BENNIE PARKER, STEELE, CONNIE MEGGS,
ISAACS, BEEKS, Rhodes, Kelly Meggs, Harrelson, Watkins, Hackett, Moerschel, Young, Berry,
Dolan, and Caldwell, with others known and unknown, carried out the conspiracy through the
following manner and means, among others, by:
a. Attending or scheduling trainings to teach and learn paramilitary combat tactics;

b. Using websites, social media, text messaging, and messaging applications to recruit

other individuals to travel to Washington, D.C.;

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c. Coordinating in advance with others, including members of the Oath Keepers from
other regions, and joining forces with these individuals and groups;

d. Traveling to Washington, D.C.;

e. Bringing and contributing paramilitary gear and supplies—including firearms,
camouflaged combat uniforms, tactical vests with plates, helmets, eye protection,
and radio equipment;

f. Donning clothes with the Oath Keepers insignia;

g. Changing into paramilitary gear—including helmets—before marching to the
Capitol;

h. Moving together in a military “stack” formation while utilizing hand signals to
maintain communication and coordination while advancing toward the Capitol;

i. Forcibly storming past exterior barricades, Capitol Police, and other law
enforcement officers, and entering the Capitol; and

j. Using secure and encrypted communications applications like Signal (an end-to-
end encrypted messaging service) and Zello (an application that emulates push-to-
talk walkie-talkies over cellular telephone networks) to develop plans and later
communicate on January 6, 2021.

Acts in Furtherance
December 2020
23. On December 12, 2020, the North Carolina chapter of the Oath Keepers held a
training session that, according to the leader of the chapter, would be focused on:
vehicle operations,, road blocks,, vehicle recovery, convoy operations,, .. . setting
up hasty ambushes,, and reacting to ambushes, but the first thing we are going to

do is fall into a formation when we assemble ....

CROWL and Watkins planned to, but did not, attend that training.

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24. On December 14, 2020—the same day that presidential electors from each state
and the District of Columbia cast their votes in the Presidential Election—Rhodes published a
letter on the Oath Keepers website advocating for the use of force to stop the lawful transfer of
presidential power.

25. On December 19, 2020, Hackett sent an email to Young with the subject line, “test.”
In the email, Hackett wrote, “I believe we only need to do this when important info is at hand like
locations, identities, Ops planning.” Attached to the email was a photograph that showed cursive
handwriting on a lined notepad that stated, “Secure Comms Test. Good talk tonight guys! Rally
Point in Northern Port Charlotte at Grays if transportation is possible. All proton mails. May
consider an RP that won’t burn anyone. Comms — work in progress. Messages in cursive to
eliminate digital reads. Plans for recruitment and meetings.”

26. On December 22, 2020, in an interview with a regional Oath Keepers leader,
Rhodes stated that if President-Elect Biden were able to assume the presidency, “We will have to
do a bloody, massively bloody revolution against them. That’s what’s going to have to happen.”
He urged President Trump to use military force to stop the lawful transfer of presidential power,
describing January 6, 2021, as “a hard constitutional deadline” to do so.

27. On December 22, 2020, at STEELE’S urging, Young made plans to fly from
Florida to North Carolina on January 4, 2021, to meet up with STEELE to drive to the Washington,
D.C. area on January 5, 2021.

28. On December 23, 2020, Rhodes published another open letter on the Oath Keepers
website. Rhodes explained, “tens of thousands of patriot Americans, both veterans and non-

veterans, will already be in Washington D.C., and many of us will have our mission-critical gear

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stowed nearby just outside D.C.” Rhodes stated in the open letter that he and others may have to
“take to arms in defense of our God given liberty.”

29. Rhodes continued advocating for the use of force to stop the lawful transfer of
presidential power with Kelly Meggs, Harrelson, Hackett, Moerschel, and others in the OKFL
Hangout Chat.

30. On December 25, 2020, Kelly Meggs messaged the OKFL Hangout Chat, in
reference to the Joint Session, “We need to make those senators very uncomfortable with all of us
being a few hundred feet away.” Rhodes then wrote, “I think Congress will screw him [President
Trump] over. The only chance we/he has is if we scare the shit out of them and convince them it
will be torches and pitchforks time is they don’t do the right thing. But I don’t think they will
listen.”

31. In late December 2020, Hackett, Young, and others discussed the need for firearms
training. On December 26, 2020, Young attempted to arrange a training class and wrote an email
to a Florida company that conducts training on firearms and combat. Young wrote, in part, “I
trained with you not long ago. Since then I have joined Oath Keepers. I recommended your
training to the team. To that effect, four of us would like to train with you, specifically in your
UTM rifle class.”

32. On December 26 and 27, 2020, Watkins and BENNIE PARKER exchanged text
messages relating to preparations for the trip to Washington, D.C., on January 6, 2021. BENNIE
PARKER also texted Watkins, “I may have to see what it takes to join your militia, ours is about

gone.”

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33. On December 29, 2020, Watkins texted CROWL, “We plan on going to DC on the
6"... Trump wants all able bodied Patriots to come . . . If Trump activates the Insurrection Act,
I'd hate to miss it[.]”

34, On December 29 and 30, 2020, Watkins and BENNIE PARKER exchanged text
messages in which they discussed Oath Keepers membership and meeting in advance to prepare
for the trip to Washington, D.C., on January 6, 2021.

35. Starting on December 30, 2020, RHODES administered an invitation-only Signal
group chat titled, “DC OP: Jan 6 21” (“Leadership Signal Chat”). Kelly Meggs, Harrelson,
Watkins, Hackett, and others were invited to and joined the Leadership Signal Chat.

36. | The co-conspirators used the Leadership Intel Chat and other Signal group chats to
plan for January 6, 2021. On December 31, 2020, at approximately 10:08 p.m., Rhodes wrote to
the Leadership Intel Chat, “There is no standard political or legal way out of this.”

37. On December 31, 2020, Kelly Meggs sent Facebook messages to another person
who intended to travel to Washington, D.C., on January 6, 2021: “You guys Gonna carry?” and
“Ok we aren’t either, we have a heavy QRF 10 Min out though.”

38. In late December, Caldwell identified the Comfort Inn Ballston, in Arlington,
Virginia, as the location that the QRF would use as its base of operations for January 6, 2021.
Caldwell shared the location of the hotel with CROWL, Watkins, and the North Carolina QRF
team leader. The North Carolina QRF team leader reserved three rooms and paid for one of the
rooms; Kelly Meggs paid for the other two rooms. One room was occupied by the North Carolina
QRF team; the second room was occupied by the Arizona QRF team; the third room was occupied
by the Florida QRF team. These QRF teams used the rooms to store and guard the firearms that

they and other co-conspirators contributed to the QRF.

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January 2021
39. In early January, BEEKS followed the Parler account of the Florida Oath Keepers,

which was controlled by Kelly Meggs and contained information about the group’s plans for
January 6, 2021.

40. On January 1, 2021, CROWL sent Caldwell a Facebook message stating, “Happy
New year, to you Sir!! Guess I'll be seeing you soon. Will probably call you tomorrow...mainly
because...J like to know wtf plan is. You are the man Commander.”

41. On January 1, 2021, CROWL and Watkins made plans to travel by car to
Washington, D.C., to attend the events of January 5-6, 2021.

42. On January 1 and 2, 2021, CROWL exchanged messages with Caldwell about the
hotel where they planned to stay in Arlington, Virginia, and Caldwell told CROWL he was “setting
up shop there.” Caldwell noted that the hotel had “quick access to the city via Interstate 66.”
Caldwell informed CROWL that the North Carolina QRF team leader had reserved a room at that
hotel and “will be the quick reaction force” and “will have the goodies in case things go bad and
we need to get heavy.”

43. On January 2, 2021, Watkins messaged the Leadership Signal Chat about assigning
roles to individuals on her team, including operating HAM radios.

44. On the moming of January 2, 2021, Kelly Meggs messaged the Leadership Signal
Chat, “Good call last night. Lots covered, Pll get with NC team today and find out QRF
location{.|”

45. OnJanuary 2, 2021, Rhodes messaged Kelly Meggs on Signal, “If you want to stow
weapons with [the operation leader] you can. He’ll have a secure car trunk or his hotel room (or

mine).” Kelly Meggs responded, “Last night call ... we discussed a QRF RP so we may do that.

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As well as the NC team has a hotel room close by.” Rhodes messaged, “Ok. We WILL have a
QRF. this situation calls for it.”

46. On January 2, 2021, Caldwell received a message from the North Carolina QRF
team leader, stating “FLA. 2 men back[.] 12 to 15 going in DC.”

47. On the evening of January 2, 2021, at about 5:43 p.m., Kelly Meggs posted a map
of Washington, D.C., in the Leadership Signal Chat, along with the message, “1 if by land[,] North
side of Lincoln Memorial[,| 2 if by sea[,] Corner of west basin and Ohio is a water transport landing
!! Kelly Meggs continued, “QRF rally points[.] Water of the bridges get closed.” In response,
the North Carolina QRF team leader wrote, “My sources DC working on procuring Boat
transportation as we speak.” At that time, Caldwell was asking contacts if they or anyone they
knew could lend a boat so that “we could have our Quick Response Team with the heavy weapons
standing by, quickly load them and ferry them across the river to our waiting arms... .”

48. At least as early as January 3, 2021, ISAACS, Young, Kelly Meggs, Harrelson,
Watkins, Dolan, Hackett, Moerschel, Berry, and others joined an invitation-only Signal group chat
titled “OK FL DC OP Jan 6” (hereinafter the “Florida Signal Chat”). Kelly Meggs and Harrelson
were the administrators of the Florida Signal Chat.

49, On January 3, 2021, ISAACS sent messages to a member of the Oath Keepers who
was also a member of the Florida Signal Chat in which ISAACS stated his intention to come to
Washington, D.C., to commit violence against an elected official.

50. On January 3, 2021, Watkins sent CROWL a Facebook message stating, “Running
a bit behind. I'll txt when I’m back at the bar. Getting supplies for DC.”

51. On January 3, 2021, Watkins and BENNIE PARKER discussed the uniforms,

gear, and weapons they would wear and bring on January 6, 2021:

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Watkins: We are not bringing firearms. QRF will be our Law
Enforcement members of Oathkeepers.

BENNIE PARKER: Good to know.
Watkins: Pack Khaki/Tan pants. Weapons are ok now as well.
Sorry for the confusion. We are packing the car and

heading your way shortly

BENNIE PARKER: We don’t have any khakis We have jeans and our b
du’s So I can bring my gun?

52. On January 3, 2021, Kelly Meggs added Harrelson to the Leadership Signal Chat
and wrote that Harrelson would serve as the “Ground Team lead.”

53. On January 3, 2021, Kelly Meggs messaged the Leadership Signal Chat, “Ammo
situation: Are we bringing or are we set at QRF? I mean I’m always gonna have a couple hundred.
But if SHTF we got ample availability.” The same day, Kelly Meggs messaged the Florida Signal
Chat, “Ammo situation. I am checking on as far as what they will have for us if SHTF. I’m gonna
have a few thousand just in case. If you’ve got it doesn’t hurt to have it. No one ever said[,] shit
I brought too much.”

54. On January 3, 2021, STEELE emailed the Florida chapter of the Oath Keepers a
membership application and wrote, “My brother, Graydon Young told me to submit my application
this route to expedite the process.” Later in the day, STEELE emailed Kelly Meggs and wrote,
“My brother, Graydon Young told me to send the application to you so I can be verified for the
Events this coming Tuesday and Wednesday.” The following day, STEELE sent an email to an
Oath Keepers address, copying both Young and Kelly Meggs, attaching her Florida Oath Keepers
membership application and vetting form, and writing, “I was just requested to send my documents
to this email.”

55. On January 4, 2021, Rhodes posted a call to action to the Oath Keepers website

encouraging Oath Keepers members and affiliates to go to Washington, D.C., for the events of

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January 5-6, 2021. Rhodes emailed the same message to an Oath Keepers list serve. Young
received the message and forwarded it to STEELE.

56. On January 4, 2021, CONNIE MEGGS joined Kelly Meggs and a group of other
Florida Oath Keepers members and affiliates in a caravan from Florida to the Washington, D.C.,
metropolitan area. They stopped and spent the night of January 4-5 at the residence of the leader
of the North Carolina chapter of the Oath Keepers.

57. On January 4, 2021, Young took a flight from Sarasota, Florida, to Greensboro,
North Carolina, where he met up with STEELE.

58. On January 4, 2021, CROWL, SANDRA PARKER, BENNIE PARKER, and
Watkins departed Ohio together and traveled to Northern Virginia, where they spent the night.

59. On January 4, 2021, Watkins wrote in the Florida Signal Chat, “Where can we drop
off weapons to the QRF team? I’d like to have the weapons secured prior to the Op tomorrow.”
No one responded to Watkins on that thread.

60. On January 5, 2021, Young and STEELE departed North Carolina with others and
traveled to the Washington D.C., metropolitan area and checked into the Holiday Inn in
Springfield, Virginia. Young and STEELE each brought firearms, which they left in their vehicle
in the hotel parking lot when they went into Washington, D.C., on January 6, 2021.

61. On January 5, 2021, Harrelson messaged the Florida Signal Chat regarding the
location of the “QRF hotel.”

62. Between January 1 and 5, 2021, Rhodes, Kelly Meggs, Harrelson, Watkins,
Hackett, Moerschel, and other co-conspirators transported firearms, ammunition, and related items

to the Washington, D.C., metropolitan area.

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63. On January 5, 2021, CONNIE MEGGS, Kelly Meggs, Harrelson, Hackett,
Moerschel, Caldwell, and others dropped off firearms, ammunition, and related gear with their
QRF teams at the Comfort Inn Ballston.

64. On January 5, 2021, as Kelly Meggs and others were unloading their weapons, he
messaged Rhodes, “Yes we are just outside of town unloading at QRF on our way in. Left [the
North Carolina Oath Keepers leader’s] place at 4:30am[.]”

65. On January 5, 2021, Caldwell and others drove into Washington, D.C., around the
Capitol, and back to the Comfort Inn Ballston hotel in Virginia. Caldwell described the trip as
“recce,” or a reconnaissance mission.

The January 6 Operation

66. On the morming of January 6, 2021, CROWL, SANDRA PARKER, BENNIE
PARKER, STEELE, CONNIE MEGGS, ISAACS, Kelly Meggs, Harrelson, Watkins, Hackett,
Moerschel, Young, Berry, Dolan, and others attended an event on the Ellipse, behind the White
House.

67. Harrelson and Dolan left the event to go to the Capitol in advance of the rest of the
group.

68. As the events at the Ellipse drew to a close, CROWL, SANDRA PARKER,
BENNIE PARKER, STEELE, CONNIE MEGGS, ISAACS, Kelly Meggs, Watkins, Hackett,
Moerschel, and Berry and others equipped themselves with communication devices and reinforced
vests, helmets, goggles, and other tactical gear. Then they marched to the Capitol.

69. At 1:25 p.m., Rhodes messaged the Leadership Signal Chat, “Pence is doing

nothing. As I predicted.” About 15 minutes later, he sent another message, stating, “All I see

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Trump doing is complaining. I see no intent by him to do anything. So the patriots are taking it
into their own hands. They’ve had enough.”

70. At 1:48 p.m., Rhodes sent a message to the Leadership Signal Chat informing the
group that he was on his way to the Capitol.

71. At 1:50 p.m., while Kelly Meggs, Watkins, Hackett, Moerschel, and others were
marching toward the Capitol, Watkins made an announcement on the “Stop the Steal J6” channel
on Zello: “It has spread like wildfire that Pence has betrayed us, and everybody’s marching on the
Capitol ... We have about 30-40 of us. We are sticking together and sticking to the plan.”

72. At 1:52 p.m., Harrelson and Dolan unlawfully entered the restricted Capitol
grounds.

73. At 2:00 p.m., Watkins stated on the “Stop the Steal J6” Zello channel, “Yall, we’re
one block away from the Capitol right now. I’m probably gonna go silent when we get there,
because I’m gonna be a little busy.”

74. At 2:02 p.m., Harrelson and Dolan joined the crowd on the central east steps of the
Capitol. A minute later, Dolan maneuvered his way to the front of the crowd and pulled on the
arm of one of the Capitol Police officers who had reformulated a line on the steps and were trying
to keep the crowd at bay. The officer pushed Dolan away. Dolan and Harrelson remained on the
steps as the crowd pushed the police line farther back up the steps toward the east side Rotunda
doors.

75. At2:06 p.m., Caldwell sent Watkins a text message stating: “Where are you? Pence
has punked out. We are screwed. Teargassing peaceful protesters at capital steps. Getting rowdy

here... I am here at the dry fountain to the left of the Capitol|.]”

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76. At 2:14 p.m., the operation leader messaged the Leadership Signal Chat, “The have
taken ground at the capital[.] We need to regroup any members who are not on mission.”

77. At 2:21 p.m, CROWL, SANDRA PARKER, BENNIE PARKER, STEELE,
CONNIE MEGGS, ISAACS, Kelly Meggs, Watkins, Hackett, Moerschel, Berry, and others
unlawfully entered the restricted Capitol grounds. Shortly thereafter, the group paused and
gathered in a circle.

78. Around this time, BEEKS met up with and joined the group of co-conspirators.

79. At 2:24 p.m., Rhodes called Kelly Meggs, but the call went to voicemail.

80. At 2:24 p.m., Rhodes sent Kelly Meggs a message stating, “Go to SOUTH side of
US Capitol,” followed by another message stating, “That’s where I am going. To link up with [the
operation leader].”

81. At 2:25 p.m., Rhodes forwarded the operation leader’s message (“The have taken
ground at the capital[.] We need to regroup any members who are not on mission.”) to the
Leadership Signal Chat and instructed: “Come to South Side of Capitol on steps” and then sent a
photograph showing the east side of the Capitol.

82. At 2:26 pm., CROWL, SANDRA PARKER, BENNIE PARKER, STEELE,
CONNIE MEGGS, ISAACS, BEEKS, Kelly Meggs, Watkins, Hackett, Moerschel, Berry, and
others continued walking northbound along the exterior of the Capitol and entered the plaza in
front of the east side of the Capitol.

83. At 2:32 p.m., Kelly Meggs called Rhodes, who was already on the phone with the
operation leader. Rhodes conferenced Kelly Meggs into the call.

84. At 2:35 pm., CROWL, SANDRA PARKER, STEELE, CONNIE MEGGS,

ISAACS, BEEKS, Kelly Meggs, Watkins, Hackett, Moerschel, and Berry joined together—

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wearing Oath Keepers clothing, patches, insignia, and battle gear—and maneuvered in an
organized fashion up the steps to the Rotunda Doors, with each member keeping at least one hand
on the shoulder of the other in front of them.

85. Toward the top of the steps, Harrelson and Dolan joined with CROWL, SANDRA
PARKER, STEELE, CONNIE MEGGS, ISAACS, BEEKS, Kelly Meggs, Watkins, Hackett,
Moerschel, Young, and Berry.

86. At the top of the steps, CROWL, SANDRA PARKER, STEELE, CONNIE
MEGGS, ISAACS, BEEKS, Kelly Meggs, Harrelson, Watkins, Hackett, Moerschel, Young,
Berry, and Dolan pushed forward as part of a mob that aggressively advanced toward the Rotunda
Doors, assaulted the law enforcement officers guarding the doors, threw objects and sprayed
chemicals toward the officers and the doors, and pulled violently on the doors.

87. At 2:39 p.m., ISAACS joined the crowd in forcibly pushing against one of the
Rotunda Doors and the law enforcement officers guarding that door, including United States
Capitol Police Officer M.C., engaged in the performance of his official duties. The mob then
breached the doors and ISAACS entered the building.

88. About a minute later, CROWL, SANDRA PARKER, STEELE, CONNIE MEGGS,
ISAACS, BEEKS, Kelly Meggs, Harrelson, Watkins, Hackett, Moerschel, Young, Berry, and
Dolan forced their way through the doors into the Capitol.

89. As they entered the Capitol, CROWL, SANDRA PARKER, STEELE, CONNIE
MEGGS, ISAACS, BEEKS, Kelly Meggs, Harrelson, Watkins, Hackett, Moerschel, Young,
Berry, and Dolan joined the larger mob in pushing past at least one law enforcement officer who

was trying to stop the attack on the Capitol.

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90. After penetrating the Capitol, CROWL, SANDRA PARKER, STEELE, CONNIE
MEGGS, ISAACS, BEEKS, Kelly Meggs, Harrelson, Watkins, Hackett, Moerschel, Young,
Berry, and Dolan moved into the Rotunda.

91. As they navigated through the Rotunda, CROWL, SANDRA PARKER, STEELE,
CONNIE MEGGS, ISAACS, BEEKS, Kelly Meggs, Harrelson, Watkins, Hackett, Moerschel,
Young, Berry, and Dolan continued to communicate with one another by keeping their hands on
each other’s backs.

92. | CROWL and Watkins recorded a video of themselves inside the Capito] Rotunda.
In the video, CROWL said, “We took on the Capitol! We overran the Capitol!” Watkins and
CROWL then turned the camera around to show their faces. Watkins exclaimed, “We’re in the
fucking Capitol, [unintelligible]!”

93. At 2:44 p.m., Watkins stated on the “Stop the Steal J6” Zello channel, “We are in
the mezzanine. We are in the main dome right now. We are rocking it. They are throwing
grenades, they are fricking shooting people with paint balls. But we are in here.” In response,
another member of the channel said, “Get it, Jess. Do your fucking thing. This is what we fucking
[unintelligible] up for. Everything we fucking trained for.”

94. Shortly thereafter, CROWL, SANDRA PARKER, STEELE, ISAACS, BEEKS,
Watkins, and Young exited the Rotunda through the northbound hallway toward the Senate
Chamber.

95. Around this time, ISAACS yelled “the fight’s not over” and waved rioters down
the hallway toward the Senate Chamber.

96. At 2:45 p.m. and afterward, CROWL, SANDRA PARKER, STEELE, ISAACS,

BEEKS, Watkins, and Young joined the mob in pushing against a line of law enforcement officers

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guarding the hallway connecting the Rotunda to the Senate Chamber, as Watkins commanded
those around her to “push, push, push,” and to, “get in there, get in there,” while exclaiming, “they
can’t hold us.” When officers responded by deploying a chemical spray, the mob—including
CROWL, SANDRA PARKER, STEELE, ISAACS, BEEKS, Watkins, and Young—retreated.

97. CROWL, SANDRA PARKER, STEELE, ISAACS, BEEKS, Watkins, and Young
regrouped in the Rotunda.

98. While his co-conspirators were inside the Capitol, BENNIE PARKER stood in the
restricted Capitol grounds and told a reporter, “We had just had a presidential election and it’s
been stolen from us... . [A]ll of these people out here are patriots. And if we need to, it’ll come
to a civil war, and a lot of people are willing to take up their arms.”

99. At 2:45 p.m., CONNIE MEGGS, Kelly Meggs, Harrelson, Hackett, Dolan,
Moerschel, and Berry walked southbound out of the Rotunda and toward the House of
Representatives in search of Speaker Pelosi. They did not find Speaker Pelosi.

100. Once outside, CROWL, SANDRA PARKER, BENNIE PARKER, STEELE,
CONNIE MEGGS, ISAACS, BEEKS, Kelly Meggs, Harrelson, Watkins, Hackett, Moerschel,
Young, Berry, Dolan, and others gathered with Rhodes just outside the Capitol.

(in violation of Title 18, United States Code, Section 1512(k))

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COUNT TWO
(18 U.S.C. §§ 1512(c)(2), 2)
(Obstruction of an Official Proceeding and Aiding and Abetting)
101. Paragraphs 1 through 19 and 23 through 100 of this Indictment are re-alleged and
incorporated by reference as though set forth herein.

102. On or about January 6, 2021, in the District of Columbia and elsewhere, the

defendants,

DONOVAN CROWL,
SANDRA PARKER,
BENNIE PARKER,

LAURA STEELE,
CONNIE MEGGS,
WILLIAM ISAACS, and
JAMES BEEKS,

attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, the
Certification of the Electoral College vote, and did aid and abet others known and unknown to the
Grand Jury to do the same.

(In violation of Title 18, United States Code, Sections 1512(c)(2), 2)

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COUNT THREE
(18 U.S.C. § 372)
(Conspiracy to Prevent an Officer from Discharging Any Duties)
103. Paragraphs 1 through 19 and 23 through 100 of this Indictment are re-alleged and
incorporated by reference as though set forth herein.
104. From in and around December 2020, through in and around January 2021, in the
District of Columbia and elsewhere, the defendants,
DONOVAN CROWL,
SANDRA PARKER,
BENNIE PARKER,
LAURA STEELE,
CONNIE MEGGS,
WILLIAM ISAACS, and
JAMES BEEKS,
did knowingly conspire and agree together and with each other to prevent by force, intimidation,
and threat, any person, that is, Members of the United States Congress, from discharging any duties
of any office, trust, and place of confidence under the United States, and to induce by force,
intimidation, and threat, any officer of the United States, that is, Members of the United States

Congress, to leave the place where their duties as officers were required to be performed.

(In violation of Title 18, United States Code, Section 372)

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COUNT FOUR
(18 U.S.C. §§ 1361, 2)
(Destruction of Government Property and Aiding and Abetting)
105. Paragraphs 1 through 19 and 23 through 100 of this Indictment are re-alleged and
incorporated by reference as though set forth herein.

106. As set forth in paragraphs 9 and 86 through 89, on January 6, 2021, in the District

of Columbia and elsewhere, the defendants,
DONOVAN CROWL,
SANDRA PARKER,
LAURA STEELE,
CONNIE MEGGS,
WILLIAM ISAACS, and
JAMES BEEKS,
attempted to, and did, willfully injure and commit depredation against property of the United
States, that is, the United States Capitol building, thereby causing or attempting to cause damage
that exceeded $1,000, and did aid and abet others known and unknown to the Grand Jury to do so.

(In violation of Title 18, United States Code, Sections 1361, 2)

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COUNT FIVE
(18 U.S.C. § 1752(a)(1))
(Restricted Building or Grounds)

107. Paragraphs 1 through 19 and 23 through 100 of this Indictment are re-alleged and
incorporated by reference as though set forth herein.
108. As set forth in paragraphs 77, 82, 84, 86 through 93, and 94 through 100, on or
about January 6, 2021, in the District of Columbia and elsewhere, the defendants,
DONOVAN CROWL,
SANDRA PARKER,
BENNIE PARKER,
LAURA STEELE,
CONNIE MEGGS,
WILLIAM ISAACS, and
JAMES BEEKS,
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, or otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was temporarily visiting, without lawful authority to do so.

(In violation of Title 18, United States Code, Section 1752(a)(1))

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COUNT SIX
(18 U.S.C. §§ 231(a)(3), 2)
(Civil Disorder and Aiding and Abetting)

109. Paragraphs 1 through 19 and 23 through 100 of this Indictment are re-alleged and
incorporated by reference as though set forth herein.

110. As set forth in paragraph 87, on or about January 6, 2021, within the District of
Columbia, the defendant,

WILLIAM ISAACS,

committed and attempted to commit and aided and abetted other persons known and unknown to
the Grand Jury to commit an act to obstruct, impede, and interfere with a law enforcement officer,
that is, United States Capitol Police Officer M.C., while Officer M.C. was lawfully engaged in the
lawful performance of his official duties, incident to and during the commission of a civil disorder
which in any way and degree obstructed, delayed, and adversely affected commerce and the
movement of any article and commodity in commerce and the conduct and performance of any

federally protected function.

(in violation of Title 18, United States Code, Sections 231(a)(3), 2)

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COUNT SEVEN
(18 U.S.C. §§ 231(a)(3), 2)
(Civil Disorder and Aiding and Abetting)
111. Paragraphs 1 through 19 and 23 through 100 of this Indictment are re-alleged and
incorporated by reference as though set forth herein.
112. As set forth in paragraphs 94 through 96, on or about January 6, 2021, within the
District of Columbia, the defendants,
DONOVAN CROWL,
SANDRA PARKER,
LAURA STEELE,
WILLIAM ISAACS, and
JAMES BEEKS,
committed and attempted to commit and aided and abetted other persons known and unknown to
the Grand Jury to commit an act to obstruct, impede, and interfere with a law enforcement officer,
that is, law enforcement officers guarding the hallway between the Capitol Rotunda and Senate
Chamber, while those officers were lawfully engaged in the lawful performance of their official
duties, incident to and during the commission of a civil disorder which in any way and degree
obstructed, delayed, and adversely affected commerce and the movement of any article and

commodity in commerce and the conduct and performance of any federally protected function.

(In violation of Title 18, United States Code, Sections 231(a)(3), 2)

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COUNT EIGHT
(18 U.S.C. §§ 1512(c)(1), 2)
(Tampering with Documents or Proceedings and Aiding and Abetting)

113. Paragraphs 1 through 19 and 23 through 100 of this Indictment are re-alleged and
incorporated by reference as though set forth herein.

114. On January 6, 2021, the Federal Bureau of Investigation opened an investigation
into the attack on the Capitol, and a Grand Jury of the United States District Court for the District
of Columbia subsequently opened an investigation.

115. On January 7, 2021, STEELE and Young, using a burn pit in STEELE’S backyard,
burned and destroyed evidence of their involvement in the attack on the Capitol, including the
clothing they wore while at the Capitol on January 6, 2021.

116. On January 7, 2021, in the District of Columbia and elsewhere, the defendant,

LAURA STEELE,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, and aided and abetted another known to the Grand Jury in doing so, with the
intent to impair its integrity and availability for use in an official proceeding, that is, the Grand
Jury investigation into the attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Sections 1512(c)(1), 2)

A TRUE BILL

FOREPERSON

Patthn Jt Caosrn foc

MATTHEW M. GRAVES
ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

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